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                      UNITED STATES DISTRICT COURT

                             DISTRICT OF MAINE


UNITED STATES OF AMERICA              )
                                      )
                                      )
v.                                    )            CRIMINAL NO. 04-57-P-H-03
                                      )
DEREK ROJAS,                          )
                                      )
                    DEFENDANT         )


        ORDER ON DEFENDANT’S MOTION TO REDUCE SENTENCE


      On June 29, 2005, I sentenced the defendant for possession with intent to

distribute 50 or more grams of cocaine base (“crack cocaine”), aiding and abetting.

Under the statute, the defendant faced a minimum sentence of 10 years. As a

result, his Guidelines range was 120 months (because of the 10-year minimum) to

135 months. When the government filed a motion under 18 U.S.C. § 3553(e) and

USSG § 5K1.1, however, I sentenced the defendant to 108 months, see Judgment

(Docket Item 158), departing from the low end of the Guideline range.

      On April 8, 2008, the defendant filed a motion for appointment of counsel

on a form prepared by the Federal Defender’s office in connection with reduction

of sentences under the retroactive crack cocaine Guideline amendment. The

motion is DENIED.

      The defendant was sentenced under 21 U.S.C. § 841(b)(1)(A). That statute

provides that where the crime involves 50 grams or more of a mixture or

substance containing crack cocaine, the sentence must be at least 10 years. That
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drug quantity calculation is statutory; it is unaffected by the recent Guideline

amendment.

      As a result, in this case, whatever changes the crack cocaine Guideline

amendment might authorize in the underlying base offense level calculations or,

for that matter, in any other Guidelines calculations, those changes cannot alter

the ultimate statutory floor of 10 years—which depends upon 50 grams of crack

cocaine. 21 U.S.C. § 841(b)(1)(A). The best the defendant could hope for is 10

years as both the minimum and maximum. It is true that I reduced the original

sentence for substantial assistance, but I measured the reduction from the

statutory 10-year floor. Since a judge has authority to reduce a sentence in a case

like this only if the “sentencing range . . . has subsequently been lowered,” 18

U.S.C. § 3582(c)(2), and since the defendant’s minimum sentencing range from

where I measured the departure—10 years—has not been lowered, the crack

cocaine Guideline amendment does not help him.

      Accordingly, the motion to appoint counsel, treated also as a motion to

reduce sentence, is DENIED.

      SO ORDERED.

      DATED THIS 15TH DAY OF APRIL, 2008



                                            /S/D. BROCK HORNBY
                                            D. BROCK HORNBY
                                            UNITED STATES DISTRICT JUDGE




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